     Case 1-23-01087-jmm          Doc 12     Filed 05/30/24     Entered 05/30/24 14:31:21
                                                                                     Kaufman Dolowich LLP
                                                                          135 Crossways Park Drive, Suite 201
                                                                                       Woodbury, NY 11797
                                                                                     Telephone: 516.681.1100
Adam A. Perlin, Esq.
                                                                                  www.kaufmandolowich.com
aperlin@kaufmandolowich.com


                                              May 30, 2024

BY ECF and Email: JMM_hearings@nyeb.uscourts.gov
The Honorable Jil Mazer-Marino
United States Bankruptcy Judge
Bankruptcy Court for the Eastern District of New York
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East – Suite 1595
Brooklyn, NY 11201

                 Re:    The Ideal Supply Company v. David Rusi
                        Adversary Proceeding No.: 1-23-01087-jmm

Dear Judge Mazer-Marino,

          The undersigned represents Plaintiff The Ideal Supply Company in the above-referenced
matter.

       The Court previously extended the fact discovery deadline to May 10, 2024. However, to
accommodate Defendant Rusi’s schedule, the parties completed the deposition of Defendant Rusi
on May 14, 2024 and no further fact discovery remains. Whereas Plaintiff intends to submit a
motion for summary judgment, the parties respectfully and jointly request that the Court enter the
following briefing schedule:

       Plaintiff will submit its summary judgment motion on or before June 28, 2024;
Defendant will submit his opposition, if any, to that motion on or before July 29, 2024;
Plaintiff will submit its reply, if any, on or before August 12, 2024.

       The parties further jointly request that the Court adjourn the pre-trial conference currently
scheduled for June 11, 2024 at 11:30 AM sine die.

          Thank you in advance for Your Honor’s consideration of this request.


                                       Respectfully,


                                       Adam A. Perlin
Cc: John Macron, Esq. (via email and ECF)
